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                                  UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF TEXAS

                            ALTERNATIVE DISPUTE RESOLUTION PROVIDER
                              ANNUAL TRAINING CERTIFICATION FORM


In accordance with Local Rule 16.4.E.3, to retain your listing as an ADR Provider in the Southern District of
Texas, you must certify to the Court annually that you have completed five hours of ADR training during the
previous calendar year. Your certification may be one of the following: (a) this completed certification form, (b)
a copy of a certificate from the sponsoring bar association or recognized provider of a continuing legal
education (CLE), or (c) for self-study, a list of the materials studied and the dates of study.

Complete your annual certification to the court by electronically filing one of the required documents in the
miscellaneous case that contains your electronic attorney admission record. Instructions can be found on the
court’s website at http://www.txs.uscourts.gov/adr/adrproviders.htm


Attorney Name:

E-mail Address:

Firm Name:

Firm Address:


I hereby certify to the Court that in the previous calendar year I have completed the required five hours of:
 Annual training in Alternative Dispute Resolution.
   or
 Self-study of court decisions concerning ADR and/or authoritative writings on ADR techniques and/or ADR ethics,
  which may be used to satisfy this requirement.
   For self-study, identify materials studied and dates/time spent studying.


    Self-Study Material:                                                                  Date/Hours:
    Self-Study Material:                                                                  Date/Hours:
    Self-Study Material:                                                                  Date/Hours:
    Self-Study Material:                                                                  Date/Hours:



Attorney’s Signature:                                                                           Date:




Revised 3/17/2015
